

People v Joseph B. (2023 NY Slip Op 02071)





People v Joseph B.


2023 NY Slip Op 02071


Decided on April 20, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 20, 2023

Before: Oing, J.P., González, Shulman, Higgitt, JJ. 


Ind. No. 2172/16 Appeal No. 77 Case No. 2018-4050 

[*1]The People of the State of New York, Respondent,
vJoseph B., Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Ying-Ying Ma of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Sexton of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Shari R. Michels, J.), rendered March 30, 2017, convicting defendant, upon his plea of guilty of robbery in the second degree, adjudicating him a youthful offender, and sentencing him to a term of nine months, unanimously modified, as a matter of discretion in the interest of justice, to the extent of vacating the mandatory surcharge and crime victim assistance fee imposed at sentencing, and otherwise affirmed.
Based on our own interest of justice powers and the People's consent, we vacate the surcharge and fee imposed at sentencing (see People v Chirinos, 190 AD3d 434 [1st
Dept 2021]).THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 20, 2023








